Case 1:15-cv-01858-TWP-DLP Document 95 Filed 06/01/16 Page 1 of 12 PageID #: 1719




                      UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF INDIANA

  Exodus Refugee Immigration, Inc.,                     No. 1:15-cv-01858-TWP-DKL

         Plaintiff,

                 v.

  Mike Pence, in his official capacity as
  Governor of the State of Indiana, and
  John Wernert, in his official capacity as
  the Secretary of the Indiana Family and
  Social Services Administration,

         Defendants.



      Nonparty Episcopal Migration Ministries’ Petition for Fees

  Nonparty Episcopal Migration Ministries, 1 respectfully requests the Court to order

  Defendants Mike Pence and John Wernert (collectively referred to as “the State”) to

  pay Episcopal Migration Ministries’ attorney fees incurred in responding to the

  State’s subpoena and request for production under Federal Rule of Civil Procedure

  45(d)(2)(B)(ii). Responding to the Subpoena imposed significant legal costs on

  Episcopal Migration Ministries. As a result, Federal Rule of Civil Procedure 45

  entitles Episcopal Migration Ministries to legal costs.




  1 Episcopal Migration Ministries is the refugee resettlement service of the Episcopal Church, which
  is incorporated in New York as The Domestic and Foreign Missionary Society of the Protestant
  Episcopal Church in the United States of America. The Episcopal Church is a not-for-profit religious
  organization with a group exemption recognized by the Internal Revenue Service.
Case 1:15-cv-01858-TWP-DLP Document 95 Filed 06/01/16 Page 2 of 12 PageID #: 1720




                           TABLE OF EXHIBITS
  Ex. No.                                      Description
            Subpoena duces tecum and Nonarty Request for Production, Dec. 11,
     1
            2015
            Letter from George M. Plews, Plews Shadley Racher & Braun LLP, to
     2      Jefferson S. Garn, Deputy Att'y Gen., Office of the Indiana Att'y Gen.
            (Dec. 18, 2015)
            Letter from George M. Plews, Plews Shadley Racher & Braun LLP, to
     3      Jefferson Garn, Deputy Att'y Gen., Office of the Indiana Att'y Gen. (Jan.
            14, 2016)
            Letter from Jefferson Garn, Deputy Att'y Gen., Office of the Indiana
     4      Att'y Gen., to George M. Plews, Plews Shadley Racher & Braun LLP
            (Jan. 26, 2016)
            Letter from George M. Plews, Plews Shadley Racher & Braun LLP, to
     5      Jefferson Garn, Deputy Att'y Gen., Office of the Ind. Att'y Gen. (Jan. 29,
            2016)
            Letter from Josh S. Tatum, Plews Shadley Racher & Braun LLP, to
     6      Jefferson Garn, Deputy Att'y Gen., Office of the Ind. Att'y Gen. (Apr. 1,
            2016)
            Letter from Jefferson Garn, Deputy Att'y Gen., Office of the Ind. Att'y
     7
            Gen. (Apr. 4, 2016)
            Invoice for work done by Plews Shadley Racher & Braun LLP on behalf
     8
            of Episcopal Migration Ministries in responding to the Subpoena




                                           2
Case 1:15-cv-01858-TWP-DLP Document 95 Filed 06/01/16 Page 3 of 12 PageID #: 1721




                                 BACKGROUND
  This case involves Plaintiff Exodus Refugee Immigration, Inc.’s challenge to the

  State’s suspension of resettlement of any refugees from Syria. This Court granted

  Exodus’s motion for preliminary injunction (ECF No. 6) on February 29, 2016. (ECF

  No. 70.) The case is currently on appeal from that order at the Seventh Circuit,

  where Exodus’s Appellee’s Brief is due May 9, 2016.

        On December 11, 2015, the State issued a Subpoena to Episcopal Migration

  Ministries, attached as exhibit 1. The Subpoena subjected Episcopal Migration

  Ministries to undue burden and expense. It was grossly overbroad and sought

  production of patently irrelevant information, prohibited by Federal Rule of Civil

  Procedure 45(d)(1) and (d)(3)(A)(iv). The categories of information sought by the

  Subpoena were not limited in any way and included information and

  communications that are not related to the present matter.

        For example, the Subpoena’s first paragraph sought all nonprivileged

  documents related in any way to the United States Refugee Resettlement Program.

  This necessarily included irrelevant information—not just information that was

  unrelated to the Syrian refuges whose resettlement gave rise to this action, but also

  information related to refugees being resettled in other states and from other

  countries. The same paragraph requested security-related documents, which are not

  provided to Episcopal Migration Ministries and not kept in its records.

        The remaining paragraphs sought communications between Episcopal

  Migration Ministries and others. These requests similarly lacked any appropriate

  limitation on subject matter or scope. They encompassed communications

  containing confidential medical and personal information about refugees who have

  been or are being assisted by Episcopal Migration Ministries. These categories also




                                            3
Case 1:15-cv-01858-TWP-DLP Document 95 Filed 06/01/16 Page 4 of 12 PageID #: 1722




  included communications related to irrelevant organizational information related to

  funding, staffing, budget, and the like.

        There can be no question that the Subpoena was overbroad and unduly

  burdensome. It requested four years’ worth of information pertaining to nearly

  every aspect of Episcopal Migration Ministries’ organization and communications.

  In addition to the obvious irrelevance of the information sought, Episcopal

  Migration Ministries cannot be expected to bear the expense required to comply

  with these burdensome and overreaching demands, particularly because the

  organization was and is not a party to this lawsuit. Nonparty status is a significant

  factor routinely considered when courts weigh whether a subpoena constituted an

  undue burden.

        The State’s separate discovery requests to Exodus and Episcopal Migration

  Ministries included overlapping categories. Any discoverable and relevant

  information should have been sought directly from Exodus. Courts generally have

  been unwilling to subject nonparties to onerous discovery obligations when the

  information can be obtained from a party.

        In addition, Section 222(f) of the Immigration and Nationality Act provides
  that records of the Department of State relating to the issuance or refusal of visas

  or permits to enter the United States are confidential. 8 U.S. Code § 1202(f). The

  Subpoena was so broad that it included any documents falling under that definition;

  those records were shielded as confidential under Section 222(f) of the Immigration

  and Nationality Act.

        The Subpoena also violated the geographic limits specified in Federal Rule of

  Civil Procedure 45(c)(2)(A). The Subpoena, which was mailed to Episcopal

  Migration Ministries’ office in New York, New York, commanded production of the

  records requested at the Office of the Attorney General in Indianapolis, Indiana.




                                             4
Case 1:15-cv-01858-TWP-DLP Document 95 Filed 06/01/16 Page 5 of 12 PageID #: 1723




        Episcopal Migration Ministries served its objections to the Subpoena on

  December 18, 2015, which is attached as exhibit 2. This was just seven days after

  the Subpoena was issued—well within the fourteen-day window Rule 45(d)(2)(B)

  allows a person to object. Episcopal Migration Ministries also made clear that it

  would seek attorney fees and costs for responding to the Subpoena.

        Counsel for Episcopal Migration Ministries and for the State discussed the

  Subpoena on December 28, 2015. During that phone call, the State agreed to a

  narrowed scope of requests. Counsel for Episcopal Migration Ministries sent a letter

  dated January 14, 2016, attached as exhibit 3. That letter confirmed the narrow

  scope, restated objections that still applied, and specified the extent to which

  Episcopal Migration Ministries would provide documents in response to each

  demand. Episcopal Migration Ministries provided very little.

        Even so narrowed, the Subpoena requested documents that were unduly

  burdensome to provide and confidential. For example, multiple categories included

  documents available from Exodus or even in the State’s own records. Episcopal

  Migration Ministries refused to produce communications between itself and Exodus

  or between itself and the State. It also refused to produce grant proposals and
  related submissions to grant-makers for competitive funding, which contain

  proprietary and confidential information. The letter also made clear that Episcopal

  Migration Ministries reserved the right to further object to the Subpoena.

        The State responded with a letter maintaining that Episcopal Migration

  Ministries “is obligated to produce all documents responsive to the subpoena.” The

  letter is dated January 26, 2016, and is attached as exhibit 4. The letter sought

  more information about the documents related to grant proposals.

        Episcopal Migration Ministries produced the documents it signaled in its

  earlier letter. In its cover letter, it answered the State’s questions about the

  withheld documents and requested the State to pay fees incurred in responding to


                                              5
Case 1:15-cv-01858-TWP-DLP Document 95 Filed 06/01/16 Page 6 of 12 PageID #: 1724




  the Subpoena. That letter is dated January 29, 2016, and is attached as exhibit 5.

  On April 1, 2016, Episcopal Migration Ministries repeated its demand in a letter

  attached as exhibit 6. The State refused the demand in a letter dated April 4, 2016,

  which is attached as exhibit 7.


                                     ARGUMENT
  The Subpoena sought confidential and federally protected information. Additionally,

  it clearly violated the geographic limits specified in Federal Rule of Civil Procedure

  45(c)(2)(A) and subjected Episcopal Migration Ministries to undue burden and

  expense, seeking irrelevant information through overbroad requests. As a nonparty

  with no power to control the scope of discovery, Episcopal Migration Ministries

  should not be forced to incur significant expense to fund the State’s litigation.

         The Subpoena sought confidential and federally protected information.

  Additionally, it clearly violated the geographic limits specified in Federal Rule of

  Civil Procedure 45(c)(2)(A) and subjected Episcopal Migration Ministries to undue

  burden and expense, seeking irrelevant information through overbroad requests. As

  a nonparty with no power to control the scope of discovery, Episcopal Migration

  Ministries should not be forced to incur significant expense to fund the State’s

  litigation.

         Rule 45 makes cost-shifting mandatory in instances involving a nonparty.

  Linder v. Calero-Portocarrer, 251 F.3d 178, 182 (D.C. Cir. 2001); Legal Voice v.

  Stormans Inc., 738 F.3d 1178, 1184 (9th Cir. 2013). The only relevant

  considerations under Rule 45 are (1) “whether the subpoena imposes expenses on

  the non-party,” and (2) “whether those expenses are ‘significant.’” Linder, 251 F.3d

  at 182 (quoted approvingly by Legal Voice, 738 F.3d at 1184). In other words, “Rule

  45(d)(2)(B)(ii) requires the district court to shift a non-party’s costs of compliance

  with a subpoena, if those costs are significant.” Legal Voice, 738 F.3d at 1184. Only


                                              6
Case 1:15-cv-01858-TWP-DLP Document 95 Filed 06/01/16 Page 7 of 12 PageID #: 1725




  this requirement could “protect a person who is neither a party nor a party’s officer

  from significant expense resulting from compliance.” Id. (quoting Fed. R. Civ. P.

  45(d)(2)(B)(ii). The rule provides no exceptions.

          There can be no question that the Subpoena imposed significant expenses on

  Episcopal Migration Ministries. The not-for-profit operates on a limited budget. The

  organization’s staff and in-house and outside counsel spent substantial amounts of

  time reviewing the Subpoena, potentially responsive materials, governing laws and

  policies, and preparing objections and responses. As a result, the expenses incurred

  in responding to the subpoena are significant, as demonstrated by the fees and costs

  of over $11,000 contained in the invoice attached as exhibit 8.

          Although the Court has some discretion in determining what amount is

  “significant,” Episcopal Migration Ministries’ expenses fall well within the range to

  meet this requirement, particularly for a nonprofit like the settlement agency. See,

  e.g., Linder, 251 F.3d at 182 (noting that $9,000 could justify cost-shifting). In fact,

  the Ninth Circuit in Linder reversed the district court’s denial of cost shifting where

  it had “no trouble concluding that $20,000 is ‘significant.’” Legal Voice, 738 F.3d at

  1185.
          Historically, courts reviewed the following in deciding whether to award costs

  to a nonparty: “(1) the scope of the discovery; (2) the invasiveness of the request; (3)

  the extent to which the producing party must separate responsive information from

  privileged or irrelevant material; and (4) the reasonableness of the costs of

  production.” United States v. Columbia Broadcasting System, Inc. 666 F.2d 364, 371

  n.9 (9th Cir. 1982). Other considerations include the following: “(1) whether the

  nonparty has an interest in the outcome of the case; (2) whether the nonparty can

  more readily bear its costs than the requesting party; and (3) whether the litigation

  is of public importance.” In Re Exxon Valdez, 142 F.R.D. 380, 383 (D.D.C. 1992).




                                              7
Case 1:15-cv-01858-TWP-DLP Document 95 Filed 06/01/16 Page 8 of 12 PageID #: 1726




        Although the 1991 amendments to the Federal Rules of Civil Procedure

  focused courts on the more compact two-step analysis articulated in Linder, to the

  extent the Court looks to the older considerations, they all also weigh in favor of

  cost-shifting. See United States v. McGraw-Hill Cos., 302 F.R.D. 532, 534–36 (C.D.

  Cal. 2014). For example, the discovery sought was broader than the rules permit. It

  sought confidential, personal, and sensitive information that required Episcopal

  Migration Ministries to separate responsive and privileged or irrelevant material.

  Much of what the State requested was just as easily sought from Exodus or even

  found in the public domain. That placed an undue burden on Episcopal Migration

  Ministries. See Nidec Corp. v. Victor Co. of Japan, 249 F.R.D. 575, 577 (N.D. Cal.

  2007) (quashing subpoena where discover was “obtainable from a source more

  direct, convenient, and less burdensome”) (citing Fed. R. Civ. P. 26(b)(2)(C)).

        A nonprofit, Episcopal Migration Ministries cannot “more readily bear” the

  expense imposed on it by the State. While Episcopal Migration Ministries certainly

  applauds Exodus in its efforts to overturn the State’s illegal actions, that proper

  rooting interest is no justification to impose costly discovery on it, which draws

  scarce dollars away from Episcopal Migration Ministries’ capacity to accomplish its
  core mission. There is no “public interest” in allowing the State to engage in

  overbroad, unnecessary discovery in fruitless support of its patently unlawful

  activities. Finally, the amount of response costs is reasonable; the State has raised

  no objection or issue as to the amount of the modest but significant sum expended

  by Episcopal Migration Ministries in response to the State’s Subpoena.

        In its letter dated April 4, 2016, the State asserts that the caselaw supporting

  Episcopal Migration Ministries’ demand is inapposite because the settlement

  agency did not move to quash the Subpoena. Ex. 7. But Rule 45 does not require

  court adoption of every expression of resistance as a prerequisite. It does, however,




                                             8
Case 1:15-cv-01858-TWP-DLP Document 95 Filed 06/01/16 Page 9 of 12 PageID #: 1727




  require the Court to “protect a person who is neither a party nor a party’s officer

  from significant expense resulting from compliance.”

        Requiring an order on a motion to quash or to compel would add nothing to

  the purpose of cost-shifting in this situation. Requiring a nonparty to move to quash

  or to hold out until the commanding party moves to compel would lead to increased

  discovery disputes, and the cost of litigation and time spent in the process would

  substantially increase. Instead, courts should minimize the need for court

  intervention while still protecting nonparties, especially those without vast

  resources for litigation.

        In clearly objecting and indicating its intent to seek fees but then providing

  much more limited documents and renewing its fee demand, Episcopal Migration

  Ministries took a practical and efficient path. While it consistently maintained its

  intent to seek fees, it produced materials that the State had some concrete claim to

  discover. It would be unfair to require Episcopal Migration Ministries to foot the bill

  for its response, which assisted the State in pursuing its defense, simply because

  the agency didn’t resist more expensively.

        The State refused to pay any of the demanded fees because it maintains that
  before an obligation to do so can arise, either the requesting party must move to

  compel production or the nonparty must move to quash the subpoena. Ex. 7 at 1. It

  cites Angell v. Kelly, 234 F.R.D. 135, 139 (M.D. N.C. 2006), a discovery order issued

  by a United States Magistrate Judge, to support this position. Even if the order

  were mandatory authority, it would not be controlling. The nonparty in that case

  was a law firm that represented one of the two companies that combined in a

  merger that went bad and led to the lawsuit. Kelly, 234 F.R.D. at 137. Substantial

  involvement in the underlying transaction weighs heavily against reimbursement.

  See First Am. Corp. v. Price Waterhouse LLP, 184 F.R.D. 234, 242 (S.D. N.Y. 1998)

  (“Where a nonparty was ‘substantially involved in the underlying transaction and


                                             9
Case 1:15-cv-01858-TWP-DLP Document 95 Filed 06/01/16 Page 10 of 12 PageID #: 1728




  could have anticipated that [the failed transaction would] reasonably spawn some

  litigation,” expenses should not be awarded.”) (quoting Tutor-Saliba Corp. v. United

  States, 32 Fed. Cl. 609, 610 n.5 (1995)). Episcopal Migration Ministries had no

  anticipation it would be dragged into federal litigation by Indiana’s illegal efforts to

  obstruct resettlement of Syrian refugees.

         Courts have ordered reimbursement for nonparty responses without court

  compulsion. Indeed, one court commended a responding nonparty for taking the

  “practical and efficient” course of producing documents and raising a request for

  payment of expenses through an objection “after or during the production process.”

  O’Cheskey v. Koehler (In re Am. Hous. Found.), Nos. 09-20232-RLJ-11, 11-02132,

  12-02023, 2:12-cv-00222-J, 2013 Bankr. LEXIS 2268, *9–10 (U.S. Bankr. N.D. Tex.

  June 4, 2013). The court reasoned, “From the rule, it is apparent that reimbursable

  legal fees are simply a component of the expenses incurred by the non-party in

  complying with the dictates of the subpoena.” Id. at *10. It further noted, “A

  non-party should not be forced to subsidize an unreasonable share of the costs

  associated with the pending litigation. Reimbursable fees include, for example,

  those fees incurred in connection with legal hurdles or impediments to the
  production.” Id. (citing In re Auto Refinishing Paint Antitrust Litig., 229 F.R.D. 482

  (E.D. Pa. 2005); In re First Am., 184 F.R.D. 234)). And it made clear, “No motion to

  compel was filed here and no issue is before the Court concerning the propriety of

  the discovery.” Id. at *8. See also United States v. McGraw-Hill Cos., 302 F.R.D.

  532, 534 (C.D. Cal. 2014) (court left open the possibility of cost-shifting even after

  parties agreed discovery’s scope, deciding that it would entertain a motion for fees

  at a later date).




                                              10
Case 1:15-cv-01858-TWP-DLP Document 95 Filed 06/01/16 Page 11 of 12 PageID #: 1729




                            REQUEST FOR RELIEF
  Episcopal Migration Ministries respectfully requests the Court to order the State to

  reimburse all of the costs and fees Episcopal Migration Ministries incurred because

  the State imposed discovery on it, including the costs of this motion.




  Respectfully submitted,




  /s/ Josh S. Tatum
  George M. Plews (No. 6274-49)
  gplews@psrb.com
  Josh S. Tatum (No. 28089-49)
  jtatum@psrb.com
  PLEWS SHADLEY RACHER & BRAUN LLP
  1346 North Delaware Street
  Indianapolis, IN 46202-2415
  Phone: (317) 637-0700
  Fax: (317) 637-0710

  Attorneys for Nonparty Episcopal Migration Ministries




                                            11
Case 1:15-cv-01858-TWP-DLP Document 95 Filed 06/01/16 Page 12 of 12 PageID #: 1730




                         CERTIFICATE OF SERVICE
  I certify that a copy of this was filed electronically in this Court on June 1, 2016.

  The parties may access this filing through the Court’s electronic filing system, and

  notice of this filing will be sent to the following parties by operation of the Court’s

  electronic filing system:

  Kenneth J. Falk
  Gavin M. Rose
  Jan P. Mensz
  A.C.L.U. of Indiana
  Judy Rabinovitz
  Omar Jadwat
  Cecilia Wang
  American Civil Liberties Union Foundation
  Thomas M. Fisher
  Patricia Erdmann
  Heather Hagan McVeigh
  Jefferson S. Garn
  Lara Langeneckert
  Jonathan Sichtermann
  Office of the Attorney General




  /s/ Josh S. Tatum
  Josh S. Tatum




                                             12
